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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )     Case No. 22-cr-00015
                                  )
ROBERTO MINUTA                    )
                                  )
                                  )
                 Defendant        )
                                  )



     REPLY MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUED

              RELEASE FROM CUSTODY PENDING APPEAL



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      COMES NOW Defendant Roberto Minuta, through his counsel of record

William L. Shipley, and hereby respectfully submits this Reply Memorandum in

Support of his Motion pursuant to 18 U.S.C. Sec. 1343(b) to remain on

conditions of release pending appeal.

      The Government concedes that the Court has already determined that

Mr. Minuta does not represent a flight risk or danger to the community by clear

and convincing evidence.

      The only question before the Court then is whether Mr. Minuta’s case

falls within the statutory class of cases where the appeal is not for the purpose

of delay, and raises a substantial question of law or fact likely to result in (i)

reversal or (ii) an order for a new trial.

      In United States v. Adams, 200 F.Supp. 3rd 141, 144 (D.D.C. 2016) the

now Chief Judge, when considering the controlling precedent in this Circuit on

this issue, wrote the following:

      An analysis of that subsection is generally construed as a dual inquiry:
      (1) Does the appeal raise a substantial question of law or fact? (2) If so,
      would the resolution of that question in Defendant's favor be likely to
      lead to any of the results listed above? See United States v. Perholtz, 836
      F.2d 554, 555 (D.C. Cir. 1988) (per curiam). As the government concedes
      the second prong, the Court's focus is on the first.

      In determining whether Defendant has raised a substantial question, the
      Court keeps in mind that there is a presumption of a valid conviction
      when assessing motions for release pending direct appeal. See id. at 556.
      Defendant bears the burden of rebutting this presumption. United States
      v. Libby, 498 F. Supp. 2d 1, 3 (D.D.C. 2007); see also United States v.
      Shoffner, 791 F.2d 586, 589 (7th Cir. 1986) (finding defendant must
      "demonstrate that he has a substantial question to present [on appeal]
      before he may be admitted to bail"). To determine whether a substantial
      question exists, the Court must inquire whether the defendant has
      raised an issue that is "a close question or one that very well could have
      been decided the other way." Perholtz, 836 F.2d at 555 (finding that
      "close question" standard is "more demanding" than one that requires
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      the inquiry to be "fairly debatable," "fairly doubtful," or simply "not
      frivolous").

      As noted in the issues listed below, there are numerous questions of law

that arose during the pendency of this case. Both sides hotly contested the

outcome of those questions because of the significant impact they would have

on the nature of the evidenced and the instructions that would be given to the

jury. Oftentimes there was scant case law available to guide this Court in

reaching its decision.

      Some questions were resolved based on competing dictionary definitions

going back a hundred years or more in an effort to devise the meanings of

words and phrases used when the statutory language was adopted. Whether

that was the correct approach, or the most appropriate definitions would up

being used, are questions that will be revisited de novo at the appellate level.

      More than one of issues below are already the subject of disagreement

among jurists in this District and Circuit. Such disagreements establish on a

prima facia basis that such issues present “close questions” that could be

decided the other way upon further review.

      There are many substantial questions of law that will be advanced on

appeal by Mr. Minuta. Questions of law are reviewed de novo. Success on any

one of the several listed issues would likely result in a reversal or new trial

given the prejudice that would be manifest by a finding of such an error in the

trial court given the nature of the case.
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      1.    Whether 18 U.S.C. Sec. 2384 is unconstitutionally vague as

      applied in this case.

      2.    Whether the Government impermissibly created a material

variance with the evidence at trial from the nature and scope of the

conspiratorial agreements charged.

      3.    Whether, as a matter of law, the phrase “to oppose by force the

authority” of the government could properly be interpreted to include an

agreement to trespass unarmed into the Capitol of the United States with the

intent to interrupt proceedings taking place therein.

      4.    Whether, as a matter of law, the “lawful transfer of power” that

occurs by operation of law on January 20 following an election year fell within

the meaning of the phrase “execution of the laws of the United States” as that

phrase is used in Sec. 2384.

      5.    Whether, as a matter of law, he Congressional proceedings

occurring pursuant to Twelfth Amendment and 15 U.S.C. Sec. 3 involve the

“lawful transfer of power” or otherwise constituted the “execution of the laws of

the United States” as that phrase is used in Sec. 2384.

      6.    Whether, as a matter of law, the unarmed entry into the Capitol

with an intent to interrupt proceedings taking place therein was conduct

“resisting a positive assertion of authority by the government” as required by

case law interpreting Sec. 2384.

      7.    Whether, as a matter of law, the Defendant’s First Amendment

right to protest and/or petition the Government for redress of grievances was

infringed by the manner in which the Government made use of his political
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speech he engaged in both before and on January 6 as evidence in this case, in

the context of the events of January 6 being a unique and never before

experienced event.

      8.    Whether, as a matter of law, the Congressional activities taking

place on January 6 following a Presidential election are an “official proceeding”

as that phrase is used in 18 U.S.C. Sec. 1512(c)(2).

      9.    What proof is required under Section 1512(c)(2) to establish that

otherwise obstructive conduct was undertaken with the requisite mens rea to

establish a defendant acted “corruptly”?

      10.   Whether, as a matter of law, members of Congress are “officers” of

the United States as that term is used in 18 U.S.C. Sec. 372.

      11.   Whether, as a matter of law, the phrase “administration of justice”

as used in Guideline Section 2J1.2(b) and (c) includes a congressional

proceeding such as that which took place on January 6.

      In addition to these questions of law, there are numerous procedural and

evidentiary issues that will be raised on appeal, particularly with regard to the

Government’s use of evidence under Rules 611 and 1006, as well as evidence

admitted over Rule 403 objections. These issues are too numerous to

catalogue at this point, as further review of the trial record is necessary, but

those claims of error will certainly be part of an claim of “cumulative error” on

appeal that warrants a new trial at the very least.

      The nature of this “first of its kind” prosecution, peppered throughout

with novel questions of law and issues of first impression subject to de novo

review, is exactly the type of case for which a defendant should not be made to
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serve a custodial sentence before the abundant number of legal issues are

addressed and resolved through the appellate review to which he is

constitutionally entitled.


Date: July 13, 2023                       Respectfully Submitted,


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